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                           UNITED STATES DISTRICT COURT
                        IN AND FOR THE STATE OF COLORADO

 Case No. 1:17-CV-01500-RPM

 SHERROL HALL, PERSONALLY, AND AS PERSONAL
 REPRESENTATIVE FOR THE ESTATE OF TERRENCE
 JOSEPH EDWARD HUNT, AND ON BEHALF OF THE
 WRONGFUL DEATH BENEFICIARIES FOR TERRENCE
 JOSEPH EDWARD HUNT

       Plaintiffs,

 v.

 JASON LENGERICH, IN HIS INDIVIDUAL CAPACITY,
 ROBERT TUCKER, IN HIS INDIVIDUAL CAPACITY,
 DANA JOHNSON, IN HER INDIVIDUAL CAPACITY,
 RENEE JORDAN, IN HER INDIVIDUAL CAPACITY,
 PATSY HARTLEY, IN HER INDIVIDUAL CAPACITY,
 JOHN HENDRYX, IN HIS INDIVIDUAL CAPACITY,
 SANDY JONES, IN HER INDIVIDUAL CAPACITY,
 KERRI BARONI, IN HER INDIVIDUAL CAPACITY,
 JANE DOES 1-10, AND JOHN DOES 1-10

      Defendants.
 ______________________________________________________________________

              FIRST AMENDED COMPLAINT AND JURY DEMAND
 ______________________________________________________________________

       COME NOW, Plaintiffs, Sherrol Hall, Personally, and as Personal Representative

 for the Estate of Terrence Joseph Edward Hunt, and on Behalf of the Wrongful Death

 Beneficiaries for Terrence Joseph Edward Hunt, by and through her counsel, Finger &

 Thigpen, P.C., and bring this amended action against the Defendants, Jason Lengerich,

 in his Individual Capacity, Robert Tucker, in his Individual Capacity, Dana Johnson, in her


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 Individual Capacity, Renee Jordan, in her Individual Capacity, Patsy Hartley, in her

 Individual Capacity, John Hendryx, in his Individual Capacity, Sandy Jones, in her

 Individual Capacity, Kerri Baroni, in her Individual Capacity, Jane Does 1-10, and John

 Does 1-10, pursuant to Rule 15(a)(1) of the Federal Rules of Civil Procedure, and allege,

 the following:

                                      I. INTRODUCTION

        1.        This is an action by the Plaintiff, Sherrol Hall, Personally, and as Personal

 Representative for the Estate of Terrence Joseph Edward Hunt, and on Behalf of the

 Wrongful Death Beneficiaries for Terrence Joseph Edward Hunt, for wrongful death and

 violation of civil rights, for the failure to provide necessary and proper medical care and

 treatment, as well as deliberate indifference causing a deprivation of life. Plaintiff brings

 this action for violation of rights under the Eighth Amendment and Fourteenth

 Amendment of the United States Constitution. Plaintiff also asserts violations of rights

 under the State Constitution that caused the death of her son, Terrence Joseph Edward

 Hunt. Mr. Hunt at all times relevant to events described herein was entitled to

 constitutional protection relating to his life under the Fourteenth Amendment to the United

 States Constitution. The Colorado Department of Corrections and its employees owed

 to Mr. Hunt a duty to protect him from death and self-harm. Mr. Hunt maintained similar

 rights under the State Constitution, including protections under Article II, Section 3 of the

 State Constitution; Article II, Section 20 of the State Constitution; and Article II, Section 25

 of the State Constitution.

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        2.     The individually named Defendants by failing to properly train, supervise,

 and act, shockingly and outrageously allowed Mr. Hunt to hang himself, causing his death

 after Mr. Hunt in a letter that was known and received by the Colorado Department of

 Corrections, expressed his intent to commit suicide. A warning was also provided in a

 phone call from the Plaintiff, Mr. Hunt’s mother, that the Colorado Department of

 Corrections should take the threat seriously.         Defendants failed to follow or order

 subordinates to follow their own Administrative Regulations and checks put in place to

 prevent this very type of incident.

        3.     Sherrol Hall, as Personal Representative for the Estate of Terrence Joseph

 Edward Hunt and on behalf of the Wrongful Death Beneficiaries for Terrence Joseph

 Edward Hunt, provided Defendant, State of Colorado, Colorado Department of

 Corrections, with a Notice of Claim on July 14, 2015, which was within one hundred eighty

 day (180) statutory deadline from the date of Mr. Hunt’s death on June 20, 2015, as

 provided under C.R.S. §24-10-101, et seq.         See, Governmental Immunity Notice,

 attached as Exhibit A. Moreover, this action was brought within two (2) years from the

 date of Mr. Hunt’s death on June 20, 2015.

                             II. JURISDICTION AND VENUE

        4.     This action arises under the Constitution and laws for the United States of

 America, and is brought pursuant to 28 U.S.C. §1331 and 28 U.S.C. §1343.

        5.     The Court also has supplemental jurisdiction under 28 U.S.C. §1367.

        6.     Venue is proper in the District of Colorado, pursuant to 28 U.S.C. §1391(b).

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 All of the events alleged herein occurred within the State of Colorado, and all of the

 parties herein were residents of the State of Colorado at the time of the events giving rise

 to this litigation.

                                        III. PARTIES

         7.      At all times relevant to the subject matter of this civil action, Decedent,

 Terrence Joseph Edward Hunt, was a citizen of the United States of America and a

 resident of the State of Colorado. Mr. Hunt was an inmate at Buena Vista Correctional

 Facility (hereafter “BVCF”) located in Buena Vista, Colorado, which facility was operated

 by the Colorado Department of Corrections. As an inmate under the control of the

 Department of Corrections, Mr. Hunt was entitled to be free of cruel and unusual

 punishment under the Eighth Amendment to the United States Constitution, including the

 right to necessary to necessary and proper medical and psychological treatment. Mr.

 Hunt was also entitled to protections under the 14th Amendment of the United States

 Constitution.

         8.      Plaintiff, Sherrol Hall, is the mother of Terrence Joseph Edward Hunt. She

 is the Court appointed Personal Representative for the Estate of Terrence Joseph

 Edward Hunt. Ms. Hall resides at 1811 South Quebec Way, #183, Denver, Colorado

 80231. She is mother of decedent, Terrence Joseph Edward Hunt. Ms. Hall brings this

 action on behalf of the Wrongful Death Beneficiaries of her son, including his daughter,

 who is a minor child.

         9.      Defendant, Jason Lengerich, is sued in his individual capacity. Defendant

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 Lengerich at the time of Plaintiff’s death was the Warden and Chief Administrative Officer

 at the Buena Vista Correctional Facility, which is located at 5125 US-24, Buena Vista,

 Colorado 81211, and may be served with process there. Defendant Lengerich was the

 ultimate authority at the facility, who was in charge of creating procedures and

 supervision of staff for facility security and the safety of inmates.

        10.    Defendant, Robert Tucker, is sued in his individual capacity. Defendant

 Tucker at the time of Mr. Hunt’s death was the supervisor of the Mental Health Services

 Department at the Buena Vista Correctional Facility, which is located at 5125 US-24,

 Buena Vista, Colorado 81211, and may be served with process there.

        11.    Defendant, Dana Johnson, is sued in her individual capacity. Defendant

 Johnson at the time of Mr. Hunt’s death was the Health Services Administrator and had

 responsibility for overseeing all health operations and orders at BVCF.

        12.    Defendant, Kerri Baroni, is sued in her individual capacity.          Defendant

 Baroni at the time of Mr. Hunt’s death was the Regional Health Services Administrator,

 who had responsibility for overseeing health services practices at BVCF. Prior to this

 position, she was the Health Services Administrator at BVCF and has responsibilities for

 establishing procedures for clinical services at the facility and training staff.

        13.    Defendant, Renee Jordan, is sued in her individual capacity. Defendant

 Jordan at the time of Mr. Hunt’s death was the Clinical Services Director for the Colorado

 Department of Corrections and had general oversight for the Colorado Department of

 Corrections clinical services operations. Ms. Jordan had responsibilities for establishing

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 procedures for provision of clinical services, including mental health services and

 implementing training for clinical staff personnel.

           14.   Defendant, Patsy Hartley, is sued in her individual capacity. Defendant

 Hartley at the time of Mr. Hunt’s death was the Major supervising Custody & Control at

 BVCF. Her duties and responsibilities included proper supervision and planning for

 inmate and safety, and staff training.

           15.   Defendant, John Hendryx, is sued in his individual capacity. Defendant

 Hendryx at the time of Mr. Hunt’s death was a Correctional Officer at the BVCF.

 Defendant Hendryx at the time of Mr. Hunt’s death was assigned to oversee and check on

 inmates to see that inmates didn’t harm themselves, including Mr. Hunt.

           16.   Defendant, Sandy Jones, is sued in her individual capacity. Defendant

 Jones at the time of Mr. Hunt’s death worked in Clinical Health Services at BVCF and was

 contacted by Sherrol Hall about the suicide threat of her son. Defendant Jones failed to

 appropriately respond to this information and obtain mental health assistance for Mr.

 Hunt.

           17.   At this time, the Jane Doe and John Doe Defendants have not been

 identified. As soon as they have been identified through the production of Rule 26(a)(1)

 disclosures and/or the discovery process, the actual individuals will be joined in the civil

 action.

                               IV. FACTUAL ALLEGATIONS

           18.   The facts and allegations set forth in all other sections of this Amended

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 Complaint and Jury Demand are incorporated herein by reference, as if set forth in

 specificity.

        19.     Terrence Joseph Edward Hunt was born on September 1, 1982.

        20.     Sherrol Sue Ann Hall is T.J. Hunt’s mother.

        21.     T.J. Hunt’s father, Terry Hunt, walked out of his life when T.J. was two (2)

 years old, refusing to acknowledge that he was the father.

        22.     The highest educational grade that T.J. Hunt completed was ninth grade.

        23.     T.J. Hunt acquired his GED in 1999 from Jefferson County Public Schools.

        24.     The State of Colorado took possession of T.J. Hunt when he was fifteen

 (15) years old.

        25.     He spent substantial time incarcerated in the Correctional Facilities

 operated by the Colorado Department of Corrections from 2007 to the date of his death

 on June 20, 2015.

        26.     With regard to his most recent incarceration, T.J. Hunt was at first

 incarcerated in the Denver Reception and Diagnostic Center (hereafter “DRDC”) for

 classification purposes from January 7, 2015 until January 14, 2015.

        27.     On January 14, 2015, Mr. Hunt was transferred to the Limon Correctional

 Facility, where he remained incarcerated until March 25, 2015.

        28.     On March 25, 2015, Mr. Hunt was transferred to the Buena Vista

 Correctional Facility.

        29.     On April 22, 2015, correctional officers found tattoo paraphernalia in T.J.

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 Hunt cell. As a result, T.J. Hunt was charged and ordered to be placed in punitive

 Segregation.

        30.     On June 11, 2015, T.J. Hunt wrote a letter to his mother, Sherrol Hall.

        31.     In his June 11th letter, T.J. Hunt expressed his intent either to injure himself

 or others, including correctional officers. Further, he stated,

        I sent a note to Mental Health about a hardship move … I’ve received absolutely no
        answer. Surprise, surprise … We aren’t even human, so why even acknowledge
        my existence? I don’t have much left though. I refuse to tolerate this shithole.
        Every fucking aspect of this place is COMPLETELY miserable. I go back and
        forth between thoughts of killing myself and killing one of these pieces of shit that
        think their job is to make my time hard and make sure I c/o every possible day of
        my sentence. Stomping one of them to death would at least give me some
        temporary joy.

        32.     All outgoing letters, including the June 11, 2015 letter by T.J. Hunt, are read

 by Buena Vista Correctional security staff prior to it being mailed to the recipient,

 according to the Colorado Department of Corrections Administrative Regulations 300-26

 and 300-38. So, Mr. Hunt’s letter was read by BVCF such that the contents were known.

 The content of letters where threats are made are required to be reported up the chain of

 command to the top level of management in the facility for security reasons.

        33.     Defendants, Hartley and Lengerich, knew or should have known of the

 threats made by Mr. Hunt.

        34.     Defendants, Hartley, Legenrich, and others in security were responsible for

 notifying mental health personnel of the threat by Mr. Hunt to kill himself.

        35.     Nevertheless, employees of the Department also knew that T.J. Hunt


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 intended either to kill himself or kill correctional officers, or was seriously considering

 taking such action.

         36.   Some or all of the Defendants also knew or should have known that T.J.

 Hunt had made numerous efforts to contact Mental Health staff at BVCF.

         37.   Pursuant to the Colorado Department of Corrections regulations, the threat

 to kill one’s self or staff required a comprehensive mental health assessment; yet, there

 was no record that such a mental health assessment was done.

         38.   As such, Defendants failed to comply or failed to see that Administrative

 Regulation 700-29, which provided that “It is the policy of the Colorado Department of

 Corrections to provide assistive and supportive mental health interventions for offenders

 who may be at risk for harm to self or others, emotional dysregulation, and/or acute

 psychiatric symptoms and to immediately intervene to prevent injury by offenders

 whenever possible.”

         39.   No mental health watch was ordered for T.J. Hunt.

         40.   No mental health assistive or supportive interventions were ordered for T.J.

 Hunt.

         41.   No interventions with T.J. Hunt, who clearly expressed his intent either to

 harm himself or others, were ordered in order to prevent injury.

         42.   In direct violation of Administrative Regulation 700-29, there was no

 immediate response to the clear threat of self-injurious behavior or injury to DOC

 employees by T.J. Hunt’s June 11, 2015 letter that was read and reviewed for content in

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 accordance with Administrative Regulations 300-26 and 300-38.

       43.    DOC Administrative Regulation 700-23, provides that “It is the policy of the

 Department of Corrections to administer psychotropic medication to offenders on an

 emergency basis without consent in order to avoid imminent danger to self or others.”

 See, AR 700-23, attached hereto as Exhibit B. It was clear from the June 11, 2015

 letter, that T.J. Hunt spelled out his intent to injure either himself or DOC employees.

 This policy and regulation was not adhered to by all or some of the Defendants.

       44.    It is also clear from Administrative Regulation 300-38 as well as

 Administrative Regulation 300-26 that all outgoing mail, including T.J. Hunt’s June 11,

 2015 letter, would be read for content. See, AR 300-38, attached hereto as Exhibit C;

 see also, AR 300-26, attached hereto as Exhibit D. Thus, Department of Corrections

 officers and staff knew that T.J. Hunt had a clear intent to injure either himself or DOC

 employees.

       45.    No psychotropic medications were ordered for T.J. Hunt despite the

 imminent danger to T.J. Hunt himself or others, as stated in his June 11, 2015 letter.

       46.    All or some of the Defendants failed to comply with Administrative

 Regulation 700-03. See, AR 700-03, attached hereto as Exhibit E.

       47.    No mental health services oriented towards improvement, maintenance or

 stabilization of T.J. Hunt’s mental health were provided.

       48.    No mental health services oriented towards the maintenance of an

 environment that preserves T.J. Hunt’s basic human rights and dignity were provided.

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        49.    T.J. Hunt’s mother received his letter of June 11, 2015.

        50.    Upon her receipt of the letter, Sherrol Hall immediately became alarmed

 and perceived it to be a real life threatening situation. She contacted Buena Vista

 Correctional Facility in order to alert them that T.J. Hunt intended to injure or kill himself,

 or harm or kill correctional officers.

        51.    In her first few attempts to contact the mental health staff and/or correctional

 officers at the prison and alert them to her son’s intent to injure himself or others, the

 Colorado Department of Corrections refused to take her outcry as serious.

        52.    After Sherrol Hall’s numerous attempts to contact prison officials, regarding

 T.J. Hunt’s June 11th letter, which they had already seen, she finally got in touch with

 Sandy Jones, who was a mental health worker at Buena Vista Correctional Facility.

        53.    Sherrol Hall told Sandy Jones about T.J. Hunt’s June 11th letter, including

 T.J. Hunt’s intent to injure himself, commit suicide, or injure others, including correctional

 officers. She read some of the letter’s content to Ms. Jones.

        54.    According to the Colorado Department of Correction’s records, Defendant

 Jones failed to have Mr. Hunt examined by a competent mental health treater,

 psychologist, psychiatrist, or medical doctor, and treated for his mental condition and

 threats. She also failed to report the information she received from Mrs. Hall and the

 threats.

        55.    It is clear from Administrative Regulation 700-29, that “Each facility will

 provide low level interventions and immediately identify, respond to, treat, and attempt to

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 prevent offenders from self-injurious and/or suicidal behaviors . . . At any time an offender

 verbalizes an intent to harm self or others or engages in these behaviors, mental health

 interventions will be implemented.” See, AR 700-29, attached hereto as Exhibit F.

        56.    The Colorado Department of Corrections has required protocols,

 procedures, and regulations concerning inmates who have expressed an intent to injure

 themselves or others, as T.J. Hunt had done in his June 11, 2015 letter, which had to

 have been reviewed for content in accordance with Administrative Regulations 300-26

 and 300-38, and those protocols, procedures, and regulations were not followed. See,

 Exhibits C and D.

        57.    Administrative    Regulation    700-29(IV)(C),     states,   “Mental    health

 interventions are indicated when an offender is identified to be at risk because of

 self-injurious and/or suicidal behavior, or who are disruptive or dangerous due to mental

 health problems.” See, Exhibit F. Here, T.J. Hunt should have been identified to be at

 risk because of the clear intent for self-injurious and/or suicidal behavior, as well as his

 intent to injure DOC employees, as expressed in his June 11, 2015 letter that had to be

 reviewed for content by DOC employees, when it was mailed out to his mother.

 Furthermore, T.J. Hunt would have been identified to be at risk because of the phone call

 from his mother to the facility, stating that T.J. Hunt intended to commit suicide or harm

 DOC employees.

        58.    At the very least Emergency Medication Procedures should have been

 implemented in accordance with Administrative Regulation 700-23(IV)(B)(1)(a), which

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 provided that “A psychiatric emergency exists when a mentally ill offender is determined

 to be in imminent danger of hurting himself/herself or others, as evidenced by a recent

 overt act, including, but not limited to, self-destructive behavior, a credible threat of bodily

 harm to self or others, or an assault upon another person.” See, Exhibit B. Here, there

 was a credible threat of bodily harm to himself and others in his June 11, 2015 letter as

 well as confirmation by his mother, who called the facility about it and spoke with Sandy

 Jones.

          59.   Defendant Jones failed to create any paperwork that memorialized any

 interactions with T.J. Hunt. See, Exhibit F.

          60.   Defendant Jones failed to implement any of the policies and procedures

 that were in place for this very type of situation. See, Exhibits B through F.

          61.   Defendant Jones failed to institute a mental health watch for T.J. Hunt.

 See, Exhibit F.

          62.   Defendant Jones failed to institute any protections for T.J. Hunt in his fragile

 and self-injurious mental state. See, Exhibits B through F.

          63.   Defendant Jones failed to notify the on-duty shift commander, regarding

 T.J. Hunt’s clear intent to injure himself and/or a DOC employee. See, Exhibit F.

          64.   Defendant Jones failed to maintain continuous supervision of T.J. Hunt

 despite knowing his clear intent to injure himself and/or a DOC employee. See, Exhibit

 F.

          65.   Defendant Jones failed to provide written directives to the on-duty shift

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 commander, regarding T.J. Hunt’s clear intent to injure himself and/or a DOC employee.

 See, Exhibit F.

        66.    There was no documentation of any request for a DOC employee,

 including, but not limited to Defendant Jones, to monitor T.J. Hunt. See, Exhibit F.

        67.    Defendant Jones failed to perform and document an assessment to

 determine the necessity for a mental health watch. See, Exhibit F.

        68.    No nursing protocol for mental health crisis was completed by the nursing

 staff. See, Exhibit F.

        69.    No   on-site,   face-to-face   clinical interview   was   performed   and/or

 documented by Defendant Jones. See, Exhibit F.

        70.    Defendant Jones did not review T.J. Hunt’s mental health record, as

 required for a mental health assessment. See, Exhibit F.

        71.    Defendant Jones failed to have any discussions with DOC employees

 and/or contract workers regarding T.J. Hunt’s recent behavior and management needs.

 See, Exhibit F.

        72.    Defendant Jones failed to perform and/or document an assessment of T.J.

 Hunt’s current suicide plan, intent, means, and other indicators of risk of self-injurious

 behavior, that was clearly stated by T.J. Hunt in his June 11, 2015 letter to his mother as

 well as communicated by T.J. Hunt’s mother to Defendant Jones directly over the phone

 prior to his suicide. See, Exhibit F.

        73.    Pursuant   to   Administrative   Regulation 700-29(IV)(D)(4)(b)(3),      “The

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 completed assessment is then entered into the electronic health record.” See, Exhibit F.

 This was not done. No such assessment for T.J. Hunt was performed and no such

 assessment was recorded in the electronic medical record. This was a violation of the

 Administrative Regulation.

        74.    Defendant Jones failed to protect T.J. Hunt’s life. See, Exhibits B through

 F.

        75.    Defendant Hendryx was a correctional officer on duty on June 20, 2015.

 He was one of the correctional officers in charge of making rounds with the inmates in

 Segregation, including T.J. Hunt.

        76.    On information and belief Defendant Hendryx knew of or was made aware

 of Mr. Hunt’s statements about killing himself or killing staff; yet, despite such knowledge

 Defendant Hendryx failed to place T.J. Hunt on a suicidal watch or mental health watch or

 see that he was properly supervised. See, Exhibits B through F.

        77.    Defendant Hendryx failed to contact the mental health unit regarding T.J.

 Hunt’s known intent to injure himself or others, including correctional officers. See,

 Exhibits B through F.

        78.    Defendant Hendryx failed to prevent T.J. Hunt from injuring himself and/or

 committing suicide. See, Exhibits B through F.

        79.    Defendant Hendryx allowed T.J. Hunt the time to make a ligature from his

 bed sheet, attach it to something, hang himself, and die without once coming by his cell to

 check on him.

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       80.    Defendant Hendryx failed to protect T.J. Hunt’s life.       See, Exhibits B

 through F.

       81.    On June 20, 2015, at approximately 2:39 p.m., Defendant Hendryx found

 T.J. Hunt dead, hanging by a ligature from his bookcase.

       82.    On June 20, 2015, at approximately 6:15 p.m., Maureen Sheridan, who was

 an investigator with the Colorado Department of Corrections Inspector General Office,

 arrived at Buena Vista Correctional Facility allegedly in order to conduct an investigation

 into the hanging death of inmate, T.J. Hunt.

       83.    Investigator Sheridan made a list of twelve alleged witnesses to the incident

 without taking a single statement from a one of them.

       84.    Defendant Jones was not listed as a witness, nor was any detailed

 statement of Ms. Jones taken. Further, this investigation failed to ascertain what steps

 Defendant Jones and her supervisors took to protect the life of Mr. Hunt.

       85.    There is no mention in the investigation as to why Defendant Jones failed to

 perform a mental health assessment of T.J. Hunt, whom clearly stated an intent to injure

 himself or DOC employees, which was further confirmed by T.J. Hunt’s mom, who called

 the facility and spoke with Defendant Jones.

       86.    There is no mention in the investigation as to why Defendant Jones and

 others at the facility failed to perform the requisite assessments, documentation, and

 monitor T.J. Hunt, following his clear intent to injure himself and/or DOC employees.

       87.    Investigator Sheridan claimed that she watched a SPRITE video of inmate

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 T.J. Hunt’s cell leading up to his hanging death, but it was not a part of her investigation

 file.   This video has been withheld from the Plaintiff, who made an Open Records

 Request of the Department of Corrections, pursuant to state statute.

         88.    No pictures were a part of the Inspector General’s investigation file.

         89.    No audio from any interviews with Defendant Jones and Defendant

 Hendryx were part of the I.G.’s investigation file that was provided.

         90.    Warden Lengerich received the investigation report and did not question

 the fact that the report was incomplete and there were no statements, video, or photos.

         91.    Defendant Lengerich did not question the fact that Defendant Jones failed

 to follow required procedures contained in Administrative Regulations 700-03, 700-23,

 and/or 700-29, nor did he refer the matter to Clinical Services for review and disciplinary

 action consideration.

         92.    Neither Investigator Sheridan nor Defendant Lengerich or any of the other

 high ranking DOC officers or any Defendants made any mention of the fact that the facility

 was well aware of inmate T.J. Hunt’s June 11, 2015 letter and the clear intent by inmate

 T.J. Hunt to injure or kill himself, or kill others, including correctional officers.

         93.    Neither Investigator Sheridan nor Defendant Lengerich or any of the other

 Defendants made any mention of the fact that the facility apparently had no mental health

 records showing diagnosis or treatment for inmate T.J. Hunt during his time at Buena

 Vista Correctional Facility in 2015.

         94.    Sherrol Hall was not contacted on June 20, 2015, regarding the hanging

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 death of her son, T.J. Hunt.

        95.    On July 14, 2015, the Plaintiffs provided the State of Colorado, Colorado

 Department of Corrections with a Notice of Claim. See Exhibit A.

        96.    On February 23, 2017, an Open Records Request was made upon the

 State of Colorado and only limited records were provided in response by the State of

 Colorado.

        97.    The Department of Corrections by and through the Defendants or some of

 them engaged in a cover-up concerning the death of T.J. Hunt.

        98.    As a direct and/or proximate result of Defendants’ actions and/or omissions,

 Plaintiffs, including the wrongful death beneficiaries, who suffered and continue to suffer

 damages, including, but not limited to: (a) Pain and Suffering; (b) Strangulation; (c)

 Diminishment of Health; (d) Delays in treatment; (e) Inaccurate assessments; (f)

 Inadequate and/or non-existent mental health treatment; (g) Careless and reckless

 monitoring; (h) Psychological and emotional trauma, distress, worry, anxiety, and mental

 suffering; (i) Loss of enjoyment of life; (j) Fear; (k) Mistreatment; (l) Abuse; (m) Neglect;

 (n) Death; (o) Grief to wrongful death beneficiaries; (p) Loss of companionship to wrongful

 death beneficiaries; (q) Pain and suffering to wrongful death beneficiaries; (r) Emotional

 stress to wrongful death beneficiaries; and (s) Funeral and burial expenses.

        99.    In addition to compensatory and non-compensatory damages, Plaintiffs are

 additionally entitled to an award of attorney’s fees and costs as permitted by statute.

        100.   Plaintiffs are entitled to pre-judgment and post-judgment interest at the rate

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 provided by statute and seeks pre-judgment interest from the earliest possible date.

        101.    Finally, Plaintiffs seek an award of punitive damages, relating to the federal

 claims, based upon the intentionally reckless and outrageous conduct by Defendants, as

 outlined herein. Plaintiffs reserve the right to seek amendment and request punitive

 damages for any state claims.

                                V.     CAUSES OF ACTION

                                 FIRST CAUSE OF ACTION
                    Wrongful Death Violation of State Law by Defendant,
                         John Hendryx, In his Individual Capacity

        102.    The facts and allegations set forth in all other sections of this Amended

 Complaint and Jury Demand are incorporated herein by reference, as if set forth in

 specificity.

        103.    Defendant Hendryx, in his individual capacity, owed a duty to

 Plaintiff-decedent to render care, treatment, and services, in accordance with the

 applicable standards of care, constitutional rights and privileges, administrative

 regulations, state regulations, and federal regulations ordinarily possessed and exercised

 by members of the corrections community under the same or similar circumstances.

        104.    Defendant Hendryx, in his individual capacity, owed Plaintiff-decedent a

 duty to protect and promote the public welfare by providing for the development,

 establishment and enforcement of certain standards in the maintenance and operation of

 their corrections facility, along with its employees and/or agents’, which would have

 insured safe and injury-free incarceration for Plaintiff-decedent in and/or by such

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 institution, corrections facility, or correctional officers.

        105.    Defendant Hendryx, in his individual capacity, owed Plaintiff-decedent a

 duty to adhere to the recognized standards of acceptable professional practice, as

 provided under applicable policies and procedures, applicable standards of care for

 correctional facilities and/or health facilities in the same or similarly situated

 circumstances as were present here,

        106.    Defendant Hendryx, in his individual capacity, recklessly, willfully,

 intentionally, and deliberate indifference deviated from the recognized standards of care,

 breached the recognized standards of care, and violated their duty of care to

 Plaintiff-decedent through mistreatment, abuse, and neglect.              More specifically,

 Defendant Hendryx, in his individual capacity, was the correctional officer responsible for

 T.J. Hunt, his condition, and his cell prior to, during, and after T.J. Hunt hung himself.

 Defendant Hendryx knew or should have known about T.J. Hunt’s June 11, 2015 letter,

 wherein T.J. Hunt admits that he will be killing himself and/or injuring correctional officers

 or staff. Despite this knowledge, Defendant Hendryx’s actions and omissions were

 reckless, willful, intentional, and with deliberate indifference, disregarding T.J. Hunt’s

 safety and causing his death.

        107.    At all times relevant hereto, Defendant Hendryx, in his individual capacity, knew or

 should have known that he had breached the direct and non-delegable duties owed to

 Plaintiff-decedent to use reasonable care in maintaining safe and adequate facilities free from

 self-injurious behavior, to select and retain competent correctional officers, to select and retain

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 competent custody and control personnel, and to formulate and enforce adequate rules and

 policies to ensure quality care for inmates, such as Mr. Hunt. As a direct and/or proximate

 result of said actions or omissions which were intentional, willful, reckless, and with deliberate

 indifference for T.J. Hunt’s life, causing his wrongful death, Plaintiff-decedent suffered damages

 and/or harm, as set forth herein.

        108.   At all times relevant hereto, Defendant Hendryx, in his individual capacity, was on

 constructive and actual notice that Plaintiff-decedent’s suicidal, self-injurious condition involved

 a heightened risk, and despite being on notice of his condition, the Defendant Hendryx did

 nothing to deter or prevent Plaintiff-decedent from injury and/or damage from such conditions.

 As a direct and/or proximate result of said actions or omissions which were intentional, willful,

 reckless, and with deliberate indifference, causing T.J. Hunt’s wrongful death, Plaintiffs’,

 including the wrongful death beneficiaries, suffered damages and/or harm and continue to suffer

 damages, including, but not limited to: (a) Pain and Suffering; (b) Strangulation; (c)

 Diminishment of Health; (d) Delays in treatment; (e) Inaccurate assessments; (f) Inadequate

 and/or non-existent mental health treatment; (g) Careless and reckless monitoring; (h)

 Psychological and emotional trauma, distress, worry, anxiety, and mental suffering; (i) Loss of

 enjoyment of life; (j) Fear; (k) Mistreatment; (l) Abuse; (m) Neglect; (n) Death; (o) Grief to

 wrongful death beneficiaries; (p) Loss of companionship to wrongful death beneficiaries; (q) Pain

 and suffering to wrongful death beneficiaries; (r) Emotional stress to wrongful death

 beneficiaries; and (s) Funeral and burial expenses.

        109.   Defendant Hendryx, in his individual capacity is responsible for the acts and

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 omissions, including the actions or omissions which were intentional, willful, reckless, and with

 deliberate indifference, causing T.J. Hunt’s wrongful death, under the theory of respondeat

 superior.

            110.   Defendant Hendryx, in his individual capacity feloniously killed Plaintiff-decedent

 through the reckless care or lack thereof for Plaintiff-decedent, warranting a claim for felonious

 killing.

                                 SECOND CAUSE OF ACTION
                       Wrongful Death Violation of State Law by Defendant,
                            Sandy Jones, in her Individual Capacity

            111.   The facts and allegations set forth in all other sections of this Amended

 Complaint and Jury Demand are incorporated herein by reference, as if set forth in

 specificity.

            112.   Defendant    Jones,   in    her   individual   capacity,   owed   a   duty   to

 Plaintiff-decedent to render care, treatment, and services, in accordance with the

 applicable standards of care, constitutional rights and privileges, administrative

 regulations, state regulations, and federal regulations ordinarily possessed and exercised

 by members of the corrections community under the same or similar circumstances.

            113.   Defendant Jones, in her individual capacity, owed Plaintiff-decedent a duty

 to protect and promote the public welfare by providing for the development, establishment

 and enforcement of certain standards in the maintenance and operation of the corrections

 facility, along with its employees and/or agents’, which would have insured safe and

 injury-free incarceration for Plaintiff-decedent in and/or by such institution or mental

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 health professionals.

        114.   Defendant Jones, in her individual capacity, owed Plaintiff-decedent a duty

 to adhere to the recognized standards of acceptable professional practice, as provided

 under applicable policies and procedures, applicable standards of care for health facilities

 in the same or similarly situated circumstances as were present here,

        115.   Defendant Jones, in her individual capacity, intentionally, recklessly,

 willfully, and with deliberate indifference deviated from the recognized standards of care,

 breached the recognized standards of care, and violated their duty of care to

 Plaintiff-decedent through mistreatment, abuse, and neglect.             More specifically,

 Defendant Jones, in her individual capacity, was the mental health officer specifically

 responsible for evaluating T.J. Hunt’s mental condition, reporting on his mental condition,

 referring T.J. Hunt for a mental health watch, documenting T.J. Hunt’s need for a mental

 health watch, prior to, during, and after T.J. Hunt hung himself. Defendant Jones knew

 about T.J. Hunt’s June 11, 2015 letter.      Moreover, she had spoken with Mrs. Hall,

 wherein Mrs. Hall told her that T.J. Hunt would be killing himself and/or injuring

 correctional officers or staff. Despite this knowledge, Defendant Jones’ actions and

 omissions were reckless, willful, intentional, and with deliberate indifference, disregarding

 T.J. Hunt’s safety and causing his death.

        116.   At all times relevant hereto, Defendant Jones, in her individual capacity, knew or

 should have known that she had breached the direct and non-delegable duties owed to

 Plaintiff-decedent to use reasonable care in maintaining safe and adequate facilities free from

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 self-injurious behavior, to select and retain competent mental health workers, and to formulate

 and enforce adequate rules and policies to ensure quality care for inmates such as Mr. Hunt.

 As a direct and/or proximate result of said actions or omissions which were intentional, reckless,

 willful, and with deliberate indifference, causing T.J. Hunt’s wrongful death, Plaintiff-decedent

 suffered damages and/or harm, as set forth herein.

        117.   At all times relevant hereto, Defendant Jones, in her individual capacity, was on

 constructive and actual notice that Plaintiff-decedent’s suicidal, self-injurious condition involved

 a heightened risk, and despite being on notice of his condition, the Defendant Jones did nothing

 to deter or prevent Plaintiff-decedent from injury and/or damage from such conditions. As a

 direct and/or proximate result of said actions or omissions which were intentional, reckless,

 willful, and with deliberate indifference, causing T.J. Hunt’s wrongful death, Plaintiffs’, including

 the wrongful death beneficiaries, suffered damages and/or harm, including, but not limited to: (a)

 Pain and Suffering; (b) Strangulation; (c) Diminishment of Health; (d) Delays in treatment; (e)

 Inaccurate assessments; (f) Inadequate and/or non-existent mental health treatment; (g)

 Careless and reckless monitoring; (h) Psychological and emotional trauma, distress, worry,

 anxiety, and mental suffering; (i) Loss of enjoyment of life; (j) Fear; (k) Mistreatment; (l) Abuse;

 (m) Neglect; (n) Death; (o) Grief to wrongful death beneficiaries; (p) Loss of companionship to

 wrongful death beneficiaries; (q) Pain and suffering to wrongful death beneficiaries; (r)

 Emotional stress to wrongful death beneficiaries; and (s) Funeral and burial expenses.

        118.   Defendant Jones, in her individual capacity, is responsible for the acts and

 omissions, including those which were intentional, reckless, willful, and with deliberate

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 indifference, causing T.J. Hunt’s wrongful death under the theory of respondeat superior.

            119.   Defendant Jones, in her individual capacity, feloniously killed Plaintiff-decedent

 through the reckless care or lack thereof for Plaintiff-decedent, warranting a claim for felonious

 killing.

                                    THIRD CAUSE OF ACTION
                                    Violation of 42 U.S.C. '1983
                   - Eighth Amendment & Fourteenth Amendment Violations –
                         - Failure to Provide Medical Care & Treatment –
                     - Action with Deliberate Indifference & Taking of a Life -
                     By Defendant, John Hendryx, In His Individual Capacity

            120.   The facts and allegations set forth in all other sections of this Amended

 Complaint and Jury Demand are incorporated herein by reference, as if set forth in

 specificity.

            121.   At all times relevant to the allegations in this Amended Complaint,

 Defendant Hendryx acted or failed to act under color of state and/or federal law, statutes,

 and regulations, including but not limited to 42 U.S.C. §1983 as well as the Eighth

 Amendment to the United States Constitution.

            122.   Defendant Hendryx is a person under 42 U.S.C. §1983.

            123.   Defendant Hendryx was the Correctional Officer responsible for making

 rounds to inmates cells, including Mr. Hunt’s cell, on or about June 20, 2015.

            124.   Defendant Hendryx was aware or should have been aware that Mr. Hunt

 was suicidal and/or intent on injuring himself.

            125.   Defendant Hendryx was aware or should have been aware that Mr. Hunt


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 had written a letter to his mother, making it known that he intended to kill or injure himself.

        126.   Nevertheless, with deliberate indifference to Mr. Hunt’s constitutional right

 not to be denied life, liberty, or necessary medical or mental care, protected by the

 Fourteenth Amendment to the United States Constitution, Defendant Hendryx failed to

 examine and care for Mr. Hunt’s worsening suicidal and self-injurious condition and failed

 to send Mr. Hunt for treatment. Defendant Hendryx did so despite its knowledge of Mr.

 Hunt’s serious suicidal and self-injurious needs, placing him at risk of substantial physical

 and mental harm.

        127.   When Mr. Hunt was obviously planning to commit suicide and/or injure

 himself, as reflected both by: (a) his June 11, 2015 letter to his mother, which was

 reviewed by the Colorado Department of Corrections security staff at the Buena Vista

 Correctional Facility prior to sending it out of the facility to his mother; and (b) Mr. Hunt’s

 mother, Sherrol Hall, openly and obviously warning Defendants through multiple phone

 calls and messages left for Defendants, regarding his desire to commit suicide or injure

 himself, Defendants acted with deliberate indifference to Mr. Hunt’s known serious

 medical need and constitutional rights in failing to obtain and provide medical treatment,

 mental health care, and/or mental health watch for him in a timely and appropriate

 fashion.

        128.   Mr. Hunt’s serious medical need was so obvious that even a lay person

 would easily recognize the necessity for a doctor’s attention, as he was clearly stating his

 desire either to commit suicide or seriously harm correctional officers.

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        129.    The acts or omissions of Defendant Hendryx was conducted in his

 individual capacity.

        130.    The acts or omissions of Defendant Hendryx was the legal and proximate

 cause of Mr. Hunt’s injuries and death.

        131.    The acts or omissions of Defendant Hendryx caused Mr. Hunt damages in

 that he suffered extreme physical and mental pain during the hours leading up to his

 death, and ultimately caused Mr. Hunt’s death.

        132.    The actions or omissions of Defendant Hendryx, as described herein,

 intentionally deprived Mr. Hunt of his right to be free of cruel and unusual punishment and

 of rights, privileges, liberties, and immunities secured by the Constitution of the United

 States of America, and caused him other damages.

        133.    Further, Defendant Hendryx acted or failed to act under color of state and/or

 federal law, statutes, and regulations, including but not limited to 42 U.S.C. §1983 as well

 as the Eighth Amendment to the United States Constitution.

                                FOURTH CAUSE OF ACTION
                                 Violation of 42 U.S.C. '1983
                - Eighth Amendment & Fourteenth Amendment Violations –
                      - Failure to Provide Medical Care & Treatment –
                  - Action with Deliberate Indifference & Taking of a Life -
                   By Defendant, Sandy Jones, In Her Individual Capacity

        134.    The facts and allegations set forth in all other sections of this Amended

 Complaint and Jury Demand are incorporated herein by reference, as if set forth in

 specificity.


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        135.   At all times relevant to the allegations in this Amended Complaint,

 Defendant Jones acted or failed to act under color of state and/or federal law, statutes,

 and regulations, including but not limited to 42 U.S.C. §1983 as well as the Eighth

 Amendment to the United States Constitution.

        136.   Defendant Jones is a person under 42 U.S.C. §1983.

        137.   Defendant Jones admits that Mr. Hunt’s mother, Sherrol Hall, contacted her

 by phone multiple times and warned her that Mr. Hunt would try to harm himself prior to

 him being found dead in his cell.

        138.   Defendant Jones was the mental health staff responsible for documenting

 mental health needs from inmates, such as T.J. Hunt, as well as documenting and

 recommending a mental health watch to inmates, including T.J. Hunt, on or about June

 20, 2015.

        139.   Defendant Jones was aware that Mr. Hunt was suicidal and/or intent on

 injuring himself.

        140.   Defendant Jones was aware that Mr. Hunt had written a letter to his mother,

 making it known that he intended to kill or injure himself.

        141.   At all times relevant to the allegations in this Amended Complaint,

 Defendant Jones knew or should have known of Mr. Hunt’s life-threatening, self-injurious

 mental condition.

        142.   Nevertheless, with deliberate indifference to Mr. Hunt’s constitutional right

 not to be denied life, liberty, or necessary medical or mental care, protected by the

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 Fourteenth Amendment to the United States Constitution, Defendant Jones failed to

 examine, treat, and care for Mr. Hunt’s worsening suicidal and self-injurious condition and

 failed to send Mr. Hunt for treatment. Defendant Jones did so despite her knowledge of

 Mr. Hunt’s serious medical, suicidal, and self-injurious needs, placing him at risk of

 substantial physical and mental harm.

        143.   When Mr. Hunt was obviously planning to commit suicide and/or injure

 himself, as reflected both by: (a) his June 11, 2015 letter to his mother, which was

 reviewed by the Colorado Department of Corrections security staff at the Buena Vista

 Correctional Facility prior to sending it out of the facility to his mother; and (b) Mr. Hunt’s

 mother, Sherrol Hall, openly and obviously warning Defendants through multiple phone

 calls and messages left for Defendants, regarding his desire to commit suicide or injure

 himself, Defendant Jones acted with deliberate indifference to Mr. Hunt’s known serious

 medical need and constitutional rights in failing to obtain and provide medical treatment,

 mental health care, and/or mental health watch for him in a timely and appropriate

 fashion.

        144.   Mr. Hunt’s serious medical need was so obvious that even a lay person

 would easily recognize the necessity for a doctor’s attention, as he was clearly stating his

 desire either to commit suicide or seriously harm correctional officers.

        145.   The acts or omissions of Defendant Jones was conducted in her individual

 capacity.

        146.   The acts or omissions of Defendant Jones was the legal and proximate

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 cause of Mr. Hunt’s injuries and death.

        147.    The acts or omissions of Defendant Jones caused Mr. Hunt damages in that

 he suffered extreme physical and mental pain during the hours leading up to his death,

 and ultimately caused Mr. Hunt’s death.

        148.    The actions or omissions of Defendant Jones, as described herein,

 intentionally deprived Mr. Hunt of his right to be free of cruel and unusual punishment and

 of rights, privileges, liberties, and immunities secured by the Constitution of the United

 States of America, and caused him other damages.

        149.    Further, Defendant Jones acted or failed to act under color of state and/or

 federal law, statutes, and regulations, including but not limited to 42 U.S.C. §1983 as well

 as the Eighth Amendment to the United States Constitution.

                                   FIFTH CAUSE OF ACTION
                                   Violation of 42 U.S.C. §1983
                  - Eighth Amendment & Fourteenth Amendment Violations -
    - Liability for Failure to Train, Supervise, & Take Corrective or Disciplinary Action -
                            By Defendants, Tucker, Johnson, Jordan,
                 Hartley, Baroni, and Lengerich, In Their Individual Capacities

        150.    The facts and allegations set forth in all other sections of this Amended

 Complaint and Jury Demand are incorporated herein by reference, as if set forth in

 specificity.

        151.    Defendants, Lengerich, Hartley, Jordan, Johnson, Tucker, and Baroni, are

 persons, as defined under 42 U.S.C. §1983.

        152.    Further, Defendants, Lengerich, Hartley, Jordan, Johnson, Tucker, and


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 Baroni, acted or failed to act under color of state and/or federal law, statutes, and

 regulations, including but not limited to 42 U.S.C. §1983 as well as the Eighth

 Amendment to the United States Constitution.

       153.   Defendant Lengerich was the Warden at Buena Vista Correctional Facility

 in June of 2015.

       154.   Defendant Lengerich, as Warden of the facility, was responsible for

 ensuring that all staff, including Defendants, Hendryx and Hartley, were properly trained

 to perform their job duties for which they were hired and employed, including training

 concerning Administrative Regulations, including, but not limited to Administrative

 Regulations 300-26, 300-38, 700-03, 700-23, and 700-29, as well as facility security,

 offender mail, publications, inmate safety, and freedom from self-injurious behavior.

       155.   Defendant Jordan, as head of Clinical Services for the Colorado

 Department of Corrections in June of 2015, was responsible for ensuring that regulations,

 concerning mental health, mental health interventions, mental health scope of service,

 emergency mental health and medication administration, facility security, inmate safety,

 and freedom from self-injurious behavior, were proper and carried out by his staff,

 including Defendants, Tucker, Johnson, and Jones.

       156.   Defendant Tucker was the head of Mental Health at Buena Vista

 Correctional Facility in June of 2015 and under the direction and control of Defendant

 Jordan.

       157.   Defendant Tucker, as head of Mental Health at the facility, was responsible

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 for ensuring that all mental health staff were properly trained to perform their job duties for

 which they were hired and employed in mental health, including Defendant Jones.

        158.   Defendant Tucker, as head of Mental Health at the facility, was responsible

 for ensuring that regulations, concerning mental health, were proper and carried out by

 his staff, including Defendant Jones.

        159.   Defendant Johnson was the Health Services Administrator for the

 Department of Corrections in June of 2015 under the direction and control of Defendant

 Jordan.

        160.   Defendant Johnson, as Health Services Administrator over all facilities, was

 responsible for ensuring that all health services staff, including Defendant Jones, were

 properly trained to perform their job duties for which they were hired and employed in

 health services.

        161.   Defendant Johnson, as Health Services Administrator over all facilities, was

 responsible for ensuring that regulations, concerning health services, were proper and

 carried out by her staff, including Defendant Jones.

        162.   Defendant Jordan, was the head of Clinical Services for the Department of

 Corrections in June of 2015.

        163.   Defendant Jordan, as head of Clinical Services over all facilities, was

 responsible for ensuring that all staff were properly trained to perform their job duties for

 which they were hired and employed in Clinical Services, including Defendant Jones.

        164.   Defendant Jordan, as head of Clinical Services over all facilities, was

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 responsible for ensuring that regulations, concerning Clinical Services, were proper and

 carried out by her staff, including Defendant Jones.

        165.   Defendant Hartley, was the head of Custody & Control at Buena Vista

 Correctional Facility in June of 2015 under the guidance and direction of Defendant

 Lengerich.

        166.   Defendant Hartley, as head of Custody & Control at the facility, was

 responsible for ensuring that all staff, including Defendant Hendryx, were properly trained

 to perform their job duties for which they were hired and employed as correctional

 officers.

        167.   Defendant Hartley, as head of Custody & Control at the facility, was

 responsible for ensuring that regulations, concerning correctional officers carrying out

 their duties with regard to self-injurious and suicidal inmates, were proper and carried out

 by her staff, including Defendant Hendryx.

        168.   Defendant Lengerich had a duty to train, supervise, and take corrective or

 disciplinary action with correctional officers, including Defendants, Hartley and Hendryx,

 in order to ensure both their compliance with Administrative Regulations, statutes, and

 federal regulations, as well as the safety and well-being of prisoners confined at Buena

 Vista Correctional Facility.

        169.   Defendant Lengerich took no corrective or disciplinary action against

 Defendants, Hartley or Hendryx, for their intentional, willful, reckless, and with deliberate

 indifference failure to comply with applicable Administrative Regulations, statutes, and

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 federal regulations, as outlined herein, causing the death of T.J. Hunt.

        170.   Defendant Jordan had a duty to train, supervise, and take corrective or

 disciplinary action with medical staff and mental health staff, including Defendants,

 Tucker, Johnson, Baroni, and Jones, in order to ensure both their compliance with

 Administrative Regulations, statutes, and federal regulations, as well as the safety and

 well-being of prisoners confined at Buena Vista Correctional Facility.

        171.   Defendant Jordan took no corrective or disciplinary action against

 Defendants, Tucker, Johnson, Baroni, or Jones, for their intentional, willful, reckless, and

 with deliberate indifference failure to comply with applicable Administrative Regulations,

 statutes, and federal regulations, as outlined herein, causing the death of T.J. Hunt.

        172.   Defendants, Lengerich, Tucker, Johnson, Jordan, Hartley, and Baroni,

 failed to discharge these duties with regard to Defendants, Hendryx and Jones.

        173.   Defendants, Lengerich, Tucker, Johnson, Jordan, Hartley, and Baroni,

 acted intentionally in failing to adequately train, supervise, and take corrective or

 disciplinary action with correctional officers, facility security staff, medical staff, and

 mental health staff, including Defendants, Jones and Hendryx.

        174.   Defendants, Lengerich and Hartley, were responsible for the creation of

 Administrative Regulations and policy concerning Staff Interventions, pertaining to

 prisoners at-risk for self-harm, injuring others, engaging in behaviors evidencing

 self-harm or injuring others, disruptive due to mental health issues, dangerous due to

 mental health issues, as well as suicide.

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       175.   Defendants, Tucker, Johnson, Jordan, and Baroni, were responsible for the

 creation of Administrative Regulations and policy concerning Offender Health Services,

 Mental Health Interventions, and Assessment for Mental Health Watch, pertaining to

 prisoners at-risk for self-harm, injuring others, engaging in behaviors evidencing

 self-harm or injuring others, disruptive due to mental health issues, dangerous due to

 mental health issues, as well as suicide.

       176.   At all times relevant to the subject matter of this civil action, individuals who

 worked for the Colorado Department of Corrections were required to follow Administrative

 Regulation 700-03, which provided, “it is the policy of the Colorado Department of

 Corrections to provide mental health services that were oriented towards improvement,

 maintenance or stabilization of offenders’ mental health, contribute to their satisfactory

 prison adjustment, diminish public risk presented by offenders upon release, and aid the

 Colorado Department of Corrections in the maintenance of an environment that

 preserves the basic human rights and dignity of offenders, employees, and contract

 workers.” See, Exhibit E.

       177.   At all times relevant to the subject matter of this civil action, individuals who

 worked for the Colorado Department of Corrections were required to follow Administrative

 Regulation 700-29, which provided, “it is the policy of the Colorado Department of

 Corrections to provide assistive and supportive mental health interventions for offenders,

 who may have been at risk for harm to self or others, emotional dysregulation, and/or

 acute psychiatric symptoms and to immediately intervene to prevent injury by offenders

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 whenever possible.” See, Exhibit F.

        178.   At all times relevant to the subject matter of this civil action, it was the policy

 of the Colorado Department of Corrections to have a professional mental health clinician

 develop a treatment plan focused on preventing further self-injury and implement it

 whenever an offender has engaged in self-injurious behavior. See, Exhibit E at 6.

        179.   At all times relevant to the subject matter of this civil action, individuals who

 worked for the Colorado Department of Corrections were required to follow Administrative

 Regulation 700-23, which provided, “it is the policy of the Colorado Department of

 Corrections to administer psychotropic medication to offenders on an emergency basis

 without consent in order to avoid imminent danger to self or others.” See, Exhibit B.

        180.   Defendants, Lengerich, Tucker, Johnson, Jordan, Hartley, and Baroni’s,

 failure to properly train, supervise, and take corrective or disciplinary action against

 employees/staff, including Defendants, Hendryx and Jones, with regard to the

 Administrative Regulations as well as inmates’ constitutional rights was a moving force

 and proximate cause of the actions or omissions with intentional, willful, reckless, and

 deliberate indifference towards Mr. Hunt’s constitutional rights.

        181.   Defendants, Tucker, Johnson, Jordan, and Baroni’s, failure to implement

 the Offender Health Services and Mental Health Interventions policies, despite seeing

 correspondence from Mr. Hunt stating that he was suicidal as well as being told on

 multiple occasions by Mr. Hunt’s mother, that he was a threat to injure himself, was a

 moving force and proximate cause of the intentional, willful, reckless, and with deliberate

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 indifference violation of Mr. Hunt’s constitutional rights.

        182.    The actions or omissions of Defendants, Lengerich, Tucker, Johnson,

 Jordan, Hartley, and Baroni, intentionally, willfully, recklessly, and with deliberate

 indifference caused Mr. Hunt’s damages in that he suffered from extreme physical and

 mental pain during the hours leading up to his death and ultimately caused his death.

        183.    The actions or omissions of Defendants, Lengerich, Tucker, Johnson,

 Jordan, Hartley, and Baroni, as described herein, intentionally, willfully, recklessly, and

 with deliberate indifference deprived Mr. Hunt of the rights, privileges, liberties, mental

 health services, and immunities secured by the Constitution of the United States of

 America, and caused him other damages.

                               SIXTH CAUSE OF ACTION
                         Outrageous Conduct by all Defendants,
           Lengerich, Tucker, Johnson, Jordan, Hartley, Hendryx, Jones, Baroni,
            Jane Does 1-10, and John Does 1-10, In Their Individual Capacity

        184.    The facts and allegations set forth in all other sections of this Amended

 Complaint and Jury Demand are incorporated herein by reference, as if set forth in

 specificity.

        185.    The facts asserted in this Amended Complaint are shocking to the

 conscious on an objective basis and will cause the fact finder to assert that what occurred

 in this matter was highly outrageous conduct, which is intolerable in a civilized society.

        186.    Defendants’ actions and omissions, as set forth above, were extreme and

 demonstrated an utter disregard for the safety and the well-being of Mr. Hunt.


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        187.   The environment created by Defendants, as set forth in this Amended

 Complaint, was completely unsafe for a person in a similar mental state to that of the

 plaintiff-decedent. The environment that existed and the careless, reckless, and

 intentional actions of Defendants failed to safeguard the Plaintiff-decedent and provide

 him protection, even after Defendants were put on notice multiple times, regarding

 Plaintiff-decedent’s mental state and desire to commit suicide.

        188.   Defendants made no effort to see that Plaintiff-decedent had medical,

 mental, and/or psychological assistance. Defendants further intentionally, willfully,

 recklessly, and with deliberate indifference failed to take proper steps, as explicitly

 outlined within the Administrative Regulations, and immediately notify mental health,

 perform a mental health assessment, review Mr. Hunt’s past medical and mental history,

 discuss with DOC employees Mr. Hunt’s recent behavior and management needs, and

 safeguard both the Plaintiff-decedent and other inmates and staff.

        189.   Defendants took no steps to immediately notify the Plaintiff-decedent’s

 family of his death, provide adequate supervision for the Plaintiff-decedent and to see that

 he received help for his struggles.

        190.   Defendants on all levels showed a callous and willful disregard of the safety

 of the Plaintiff-decedent.

        191.   Defendants took no action upon reviewing Mr. Hunt’s letter that was sent

 from the facility, reviewed by security staff, and received by Mr. Hunt’s mother, which

 prompted her calls to correctional officers and mental health staff to warn them of his

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 impending self-injurious and/or suicidal actions.

        192.   Further, Defendants took no action upon receiving direct phone calls from

 Plaintiff-decedent’s mother, who repeatedly warned them of her son’s mental state and

 desire to injure himself and/or commit suicide, nor did the Defendants seek to remediate

 and prevent the death of Plaintiff-decedent.

        193.   Further, Defendants took no action, failing to place Mr. Hunt on a mental

 health watch or any kind of watch despite the clear self-injurious and/or suicidal behavior

 that Mr. Hunt conveyed in his correspondence to his mother as well as his daily activities.

        194.   No mental health records exist for Mr. Hunt in 2015, despite his clear

 requests for help.

        195.   The Colorado Department of Corrections has historically provided deficient

 mental health care services.

        196.   Moreover, upon information and belief the named Defendants, as well as

 other unnamed and unknown individuals at this time, have engaged in a cover-up of the

 facts and circumstances surrounding Mr. Hunt’s death, failing to document Mr. Hunt’s

 known condition(s), mental health checks, if any, mental health watches, if any, mental

 health care, if any, as well as numerous other required written procedures, as provided

 within the applicable Administrative Regulations for the Colorado Department of

 Corrections, as outlined above.

        197.   In the alleged investigation by the Office of Inspector General, Investigator

 Maureen Sheridan, she identifies alleged witnesses to the incident, providing no

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 expected testimony from any of them. It is unknown whether there are any statements

 by any of the witnesses. Further, one of the key witnesses, Defendant Jones, who was

 with Mental Health, is not listed in the list of involved persons. There is no explanation as

 to why she failed to fill out any of the required paperwork under the Administrative

 Regulations or place Mr. Hunt on a mental health watch.

        198.   Upon information and belief, Defendant Lengerich received this alleged

 investigator’s report by Investigator Maureen Sheridan with the Office of Inspector

 General’s Office, and to our knowledge has not taken corrective or disciplinary action

 against anyone for the sub-standard and woefully deficient investigator’s report or

 omissions by Defendants, Jones and Hendryx.

        199.   Finally, Plaintiffs made a Freedom of Information Act Open Records

 Request upon the Colorado Department of Corrections for all records pertaining to Mr.

 Hunt’s incarceration and treatment while incarcerated. Mental health records for Mr.

 Hunt in 2015 were omitted from the production as well as any video of Mr. Hunt on June

 20, 2015, leading up to his suicide.

        200.   Mr. Hunt was in segregation at the time of this death. There should have

 been video of Mr. Hunt in his cell at the time of his death. In fact, we know there was

 video, as referenced by the Inspector General’s investigator, Maureen Sheridan. No

 such video was produced with Defendant Lengerich’s June 23, 2015 letter to Sherrol Hall,

 regarding the alleged investigation into her son’s death.

        201.   Investigator Maureen Sheridan mentions a SPRITE video in her CDOC

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 Inspector General Offense Report; yet, this video was not produced in Warden

 Lengerich’s June 23, 2015 letter to Sherrol Hall, regarding the alleged investigation into

 her son’s death. Upon information and belief, the Defendants have intentionally withheld

 pertinent and relevant information.

        202.   The level of outrageous conduct by Defendants was extremely high and

 conscience-shocking, and was not simply an act of negligence. The level of outrageous

 conduct was so outrageous in character and extreme in degree as to go beyond all

 possible bounds of decency and is regarded or should be regarded as atrocious and

 utterly intolerable in a civilized community.

        203.   Defendants at all times held the position of authority over their inmate, Mr.

 Hunt, with a power to affect his safety, well-being, and his interests. This was not a simple

 case of Defendants’ behavior being one of mere insult or annoyance, but was conduct of

 a much higher improper nature that reaches the degree of outrageous conduct, conduct

 which is actionable in tort.

        204.   As a direct and proximate result of Defendants’ outrageous conduct,

 Plaintiff-decedent was injured, including, but not limited to extreme emotional distress

 and anxiety, and ultimately died, as set forth above in this Amended Complaint.

        205.   Plaintiffs may seek punitive damages for this outrageous conduct by

 amending the Complaint once disclosures are made. This is consistent with Colorado

 statute and law.

                                   PRAYER FOR RELIEF

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        Plaintiffs pray that this Court enter judgment for them, against the Defendants, and

 award Plaintiffs damages established by the trier of fact, including:

        1.     Appropriate relief at law and equity;

        2.     Declaratory relief and other appropriate equitable relief;

        3.     Economic losses on all claims allowed by law;

        4.     Compensatory and consequential damages, including damages for

 emotional distress, humiliation, loss of enjoyment of life, and other pain and suffering on

 all claims allowed by law in an amount to be determined at trial;

        5.     Punitive damages on all federal claims allowed by law and in an amount to

 be determined at trial;

        6.     Attorney’s fees and the costs associated with this action, including expert

 witness fees, on all claims allowed by law;

        7.     Pre- and post-judgment interest at the highest lawful rate;

        8.     Any further relief that this Court deems just and proper, and any other relief

 as allowed by law.

   PLAINTIFFS HEREBY DEMAND A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.

        DATED this the 6th day of October, 2017.

                                                  FINGER & THIGPEN, P.C.


                                                  s/ J. Howard Thigpen, Esq.
                                                  William S. Finger, No. 7224
                                                  J. Howard Thigpen, No. 45897
                                                  Casey Leier, No. 45155

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                                           FINGER & THIGPEN, P.C.
                                           29025-D Upper Bear Creek Road
                                           Evergreen, Colorado 80439
                                           Phone: (303) 674-6955
                                           Fax: (303) 674-6684
                                           Email: bill@fingerthigpenlaw.com
                                                  howard@fingerthigpenlaw.com
                                                  casey@fingerthigpenlaw.com


 Plaintiff’s Address:
 1811 South Quebec Way, #183
 Denver, Colorado 80231




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